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 8   Attorneys for Michael Rothenberg
 9

10                                 IN THE UNITED STATES DISTRICT COURT

11                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

12                                           OAKLAND DIVISION

13

14    UNITED STATES OF AMERICA,                              Case No.: 4:20-CR-00266-JST

15                    Plaintiff,                             STIPULATION AND [PROPOSED]
                                                             ORDER RESETTING SENTENCING
16            v.                                             HEARING

17    MICHAEL ROTHENBERG,                                    Hearing Date:   June 28, 2024
                      Defendant.                             Hearing Time:   9:30 a.m.
18

19

20         Sentencing in this matter is currently set for June 28, 2024. After meeting and conferring, the

21   parties hereby request the sentencing hearing be reset to September 13, 2024 at 9:30 a.m. The reasons

22   for this request are as follows.

23         Defense counsel needs additional time to prepare for the sentencing hearing, particularly given

24   the existence of complicated legal issues surrounding the loss calculation in this case for both the

25   U.S. Sentencing Guidelines and restitution that the parties have been discussing. Defense counsel is

26   currently scheduled to be out of the country from June 5 to June 19 and will not be ready to proceed

27   to sentencing on June 28. Additionally, associate counsel is about to begin a lengthy, months long

28   federal jury trial and will be unavailable to work on Mr. Rothenberg’s case starting June 4. Finally,

     STIPULATION AND [PROPOSED] ORDER RESETTING SENTENCING HEARING
     United States v. Rothenberg, 4:20-CR-00266-JST
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               Case 4:20-cr-00266-JST Document 388 Filed 05/24/24 Page 2 of 3



 1   government counsel will be out of the district at various times in July and August 2024. Thus, the
 2   parties request the Court reset the sentencing hearing to September 13, 2024 at 9:30 a.m.
 3         The assigned probation officer, who has disclosed the draft PSR to the parties, is available to
 4   appear at a sentencing hearing on September 13, 2024.
 5         Undersigned defense counsel certifies he has obtained approval from counsel for the
 6   government to file this Stipulation and Proposed Order.
 7

 8

 9                                                           IT IS SO STIPULATED.

10
      Dated:     May 24, 2024                                         /S
11                                                           HANNI M. FAKHOURY
                                                             NATHANIEL J. TORRES
12
                                                             Attorneys for Michael Rothenberg
13

14    Dated:     May 24, 2024                                          /S
                                                             KYLE F. WALDINGER
15                                                           NICHOLAS J. WALSH
                                                             BENJAMIN K. KLEINMAN
16                                                           Assistant United States Attorneys
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     STIPULATION AND [PROPOSED] ORDER RESETTING SENTENCING HEARING
     United States v. Rothenberg, 4:20-CR-00266-JST
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 2                                 IN THE UNITED STATES DISTRICT COURT
 3                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
 4                                            OAKLAND DIVISION
 5

 6    UNITED STATES OF AMERICA,                             Case No.: 4:20-CR-00266-JST
 7                    Plaintiff,                            [PROPOSED] ORDER RESETTING
                                                            SENTENCING HEARING
 8            v.
                                                            Hearing Date:   June 28, 2024
 9    MICHAEL ROTHENBERG,                                   Hearing Time:   9:30 a.m.
10                    Defendant.
11

12         Based on the stipulation of the parties, the Court hereby resets the sentencing hearing from
13   June 28, 2024 to September 13, 2024 at 9:30 a.m.
14

15         IT IS SO ORDERED.
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17   DATED:_________________                            ____________________________________
                                                        HONORABLE JON S. TIGAR
18                                                      United States District Judge
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     [PROPOSED] ORDER RESETTING SENTENCING HEARING
     United States v. Rothenberg, 4:20-CR-00266-JST
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